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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

M.D., by her next friend, Sarah R.     §
Stukenberg, et al.,                    §
                                       §
        Plaintiffs,                    §
                                       §
v.                                     §      Civil Action No. 2:11-CV-00084
                                       §
GREG ABBOTT, in his official           §
capacity as Governor of the State of   §
Texas, et al.,                         §
                                       §
        Defendants.                    §



                DEFENDANTS’ EMERGENCY MOTION TO STAY
                   CONTEMPT ORDER PENDING APPEAL
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                                   INTRODUCTION

      Defendants are steadfastly committed to the welfare of the children within

their care, and they have worked diligently for years to safeguard those children and

comply with the Court’s remedial orders in this case. Nevertheless, yesterday the

Court held the Executive Commissioner of Texas’s Health and Human Services

Commission in contempt of Remedial Orders 3 and 10. Dkt. 1560 at 422. The Court

also imposed $100,000 in daily sanctions, which began accruing immediately and

which can be suspended—but not eliminated—only if HHSC makes certain

certifications and produces certain materials to the Monitors. Dkt. 1560 at 422–24

(discussing “reinstate[ment]” of “previously abated fines”).

      Defendants have filed a notice of appeal and plan to seek immediate appellate

review of the Court’s contempt order, arguing to the Fifth Circuit that contempt is

unwarranted because at minimum defendants are in substantial compliance with the

remedial orders in question, and that the Court improperly imposed criminal

contempt without affording defendants the constitutionally required criminal

process.

      Because the State of Texas and its citizens are currently accruing $100,000 in

daily fines, and because defendants have a strong likelihood of success on appeal,

defendants respectfully request that the Court stay its contempt order and related

proceedings as soon as possible and in all events issue an administrative stay by no

later than 6 p.m. today to allow the Fifth Circuit to consider the propriety of a stay

pending appeal.    Given the magnitude of the presently accruing fines—and the


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irreparable harm to federal-state comity by holding the Governor-appointed, Senate-

confirmed head of one of the largest state agencies in the country in criminal

contempt—defendants plan to seek concurrent relief from the Fifth Circuit.

                               STATEMENT OF FACTS

      In June 2023, plaintiffs moved for an order to show cause why defendants

should not be held in contempt, alleging noncompliance with seven remedial orders.

Dkt. 1376. Plaintiffs amended their motion four times over the following four months,

expanding their allegations each time to eventually cover over a dozen remedial

orders. Dkts. 1404, 1419, 1420, 1427; see also Dkt. 606 (setting out the remedial

orders).

      Defendants responded that (1) plaintiffs’ allegations concerned matters that

were beyond the scope of the remedial orders—or at least not clearly spelled out by

those orders; (2) defendants had substantially complied with the remedial orders in

all events; and, (3) at the very least, other defenses including mitigating

circumstances preclude contempt.

      As relevant here, Remedial Order 3 includes requirements to “ensure that

reported allegations of child abuse and neglect” are “investigated,” timely

“commenced and completed,” and “conducted taking into account at all times the

child’s safety needs.” Dkt. 606 at 2; see Dkt. 1560 at 284–85. Remedial Order 10

relatedly includes requirements to “complete Priority One and Priority Two child

abuse and neglect investigations . . . within 30 days of intake.”    Dkt. 606 at 3.

Defendants argued that plaintiffs couldn’t make out a prima facie case of contempt


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by pointing to a handful of specific investigations that the Monitors determined

reached the wrong result or took too few investigative steps under the

circumstances—especially given that those same Monitors agreed with the resolution

of nearly 95 percent of all investigations they reviewed. See Dkt. 1429 at 9–16.

      The Court issued a show-cause order in September 2023, setting the contempt

hearing for December. Dkt. 1415. On December 4, the Court held a three-day

evidentiary hearing on plaintiffs’ contempt motion. And on April 15, 2024, the Court

issued a 427-page order holding HHSC “in contempt of Remedial Order 3 and

Remedial Order 10.” Dkt. 1560 at 280.

      Regarding Remedial Order 3, the Court ordered HHSC to “pay $50,000 per day

until HHSC agency leadership”:

      [1] certifies that all PI investigations involving at least one PMC child
          closed from December 4, 2023 until the date of the State’s
          certification, are substantially compliant with the Remedial Order
          3 AND

      [2] concurrently produce[s] to the Monitors the list of all PI
          investigations involving at least one PMC child closed between
          December 4, 2023 and the date of the State’s certification.

Dkt. 1560 at 422.

      Regarding Remedial Order 10, the Court ordered HHSC to “pay $50,000 per

day until HHSC agency leadership”:

      [1] certifies that all open PI investigations involving at least one PMC
          child are substantially compliant with Remedial Order 10 AND

      [2] concurrently produce[s] to the Monitors the evidence upon which the
          verification is based including [a non-exhaustive list of data].

Dkt. 1560 at 422–23.


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      The Court imposed the $100,000 daily penalty effective immediately, and

explained that although the penalty would “be suspended upon complete submission”

of the certifications and data described above, the Court would hold a “compliance

hearing” in June at which, “absent substantial compliance, any previously abated

fines may be reinstated.” Dkt. 1560 at 422–24.

      In addition, the Court made clear that it would also be “carrying forward”

multiple issues raised in plaintiffs’ show-cause motion. See Dkt. 1560 at 424 (listing

“Plaintiffs’ motion for partial receivership,” as well as plaintiffs’ contempt motion

(which was originally filed in June 2023) “as it relates to CWOP, caseworker

caseloads, heightened monitoring, psychotropic medications, and appropriately

apprising PMC children of the ways in which to report abuse and neglect”).

                                  LEGAL STANDARD

      The grant of a stay pending appeal depends on four factors, with the first two

being the “most critical”:

      “(1) whether the stay applicant has made a strong showing that he is
           likely to succeed on the merits;

      (2) whether the applicant will be irreparably injured absent a stay;

      (3) whether issuance of the stay will substantially injure the other
          parties interested in the proceeding; and

      (4) where the public interest lies.”

Tex. Democratic Party v. Abbott, 961 F.3d 389, 397 (5th Cir. 2020). In sum, a stay

pending appeal is warranted where, as here, the movant has a strong likelihood of

success on the merits and the equities otherwise favor a stay. See Valentine v. Collier,

956 F.3d 797, 801 (5th Cir. 2020). When the State is seeking a stay pending appeal,

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“its interest and harm merge with that of the public.” Veasey v. Abbott, 870 F.3d 387,

391 (5th Cir. 2017).

                                     ARGUMENT

      The Court should issue a stay pending appeal, because defendants are likely

to succeed on the merits of their appeal. It’s clear that defendants have substantially

complied with Remedial Orders 3 and 10. Indeed, the Court’s own Monitors agreed

with the dispositions of more than 94 percent of abuse and neglect investigations

involving PMC children.

      Further, the Court effectively imposed criminal contempt without providing

the constitutionally required due-process protections. The immediately accruing

fines the Court imposed are non-compensatory, imposed for out-of-court conduct, and

based on alleged non-compliance with a complex injunction.

      Absent a stay, the six-figure daily fines will redound to the detriment of the

public interest (which, for purposes of the stay factors, merges with harm to

defendants, who are arms of the State).        Subjecting state officials to criminal

contempt without the constitutionally required protections and imposing heavy daily

fines pose grave federal-state comity and federalism concerns. The public interest

will suffer from the harm to defendants’ budget (funded by taxpayers) and operations,

while plaintiffs would suffer no harm if a stay were to issue.

      The Court should therefore stay its order and all related proceedings pending

resolution of defendants’ appeal. At minimum, the Court should temporarily stay its

order while the Fifth Circuit considers the propriety of a stay pending appeal.


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I.     Defendants are highly likely to succeed on appeal.

       A.     Defendants have substantially complied with the remedial
              orders in question.

       Defendants will very likely prevail in their appeal of the Court’s contempt

order. Contempt is a “severe remedy,” Taggart v. Lorenzen, 139 S. Ct. 1795, 1802

(2019), which must be “exercised with restraint and discretion.” Hornbeck Offshore

Servs., LLC v. Salazar, 713 F.3d 787, 792 (5th Cir. 2013). That’s particularly true

here where the alleged contemnor is a state entity in federal court. See Rizzo v.

Goode, 423 U.S. 362, 378 (1976) (federal courts must be “mindful of the ‘special

delicacy of the adjustment to be preserved between federal equitable power and State

administration of its own law’ ”).

       To demonstrate contempt, plaintiffs must prove by clear and convincing

evidence that (1) a court order was in effect; (2) the order required certain conduct by

defendants; and (3) defendants failed to comply with that order. Texas v. Dep’t of

Labor, 929 F.3d 205, 213 n.11 (5th Cir. 2019). Because contempt is a “potent weapon,”

it may not be used if “there is [a] fair ground of doubt as to the wrongfulness of the

defendant’s conduct”—e.g., doubt as to whether the challenged conduct falls within

an order’s scope.   Taggart, 139 S. Ct. at 1801–02 (2019) (alteration in original,

emphasis added); In re Baum, 606 F.2d 592, 593 (5th Cir. 1979) (same).

       If plaintiffs carry their burden, defendants can still avoid contempt by showing

substantial    compliance,   good-faith   efforts,   inability   to   comply,   mitigating

circumstances, or justification for non-compliance. See United States v. Barnett, 346

F.2d 99, 100 (5th Cir. 1965) (substantial compliance); Waste Mgmt. of Wash., Inc. v.

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Kattler, 776 F.3d 336, 341 (5th Cir. 2015) (inability to comply); Whitfield v.

Pennington, 832 F.2d 909, 914 (5th Cir. 1987) (mitigating circumstances); M.D. ex rel.

Stukenberg v. Abbott, 509 F. Supp. 3d 683, 704 (S.D. Tex. 2020).

      The Fifth Circuit is highly likely to hold that the Court’s order doesn’t comply

with those parameters. On appeal, defendants will argue that they complied with

Remedial Orders 3 and 10 and that this Court reached the opposite conclusion by

improperly focusing on approximately 35 investigations (out of thousands conducted

by defendants every year) involving 13 children (out of approximately 8,000 PMC

children) conducted primarily in 2021 and 2022 by a single HHSC unit that

investigates abuse involving certain types of providers, including Home and

Community-Based Services (HCS) residences, which house approximately 100 PMC

children at any given time. See Dkt. 1560 at 302–97. Rather than focus on this small

subset of investigations, the Court should have considered that, when evaluated more

broadly, defendants are in substantial compliance with these orders as established

by the Monitors’ own reports.

      For example, in the Fifth Report, the Monitors note that defendants’

investigations have “measurably improved over time” and “often resulted in an

appropriate disposition.” Dkt. 1318 at 47. Indeed, the Monitors agreed with the

disposition of 95 percent of the investigations. Dkt. 1318 at 46–47.

      The Court discounted these overwhelmingly positive findings by its own

Monitors to parse the evidence and criticize defendants for failing to take actions not

required by the Court’s orders—followed by summarily concluding that it’s


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“apparent” that defendants’ actions violated the orders. See, e.g., Dkt. 1560 at 313

(citing Dkt. 1412 at 36) (finding that investigator failed because, despite interviewing

a witness and noting in investigative documentation that the witness stated that the

witness engaged in a physical altercation, the investigator must not have asked the

witness to “describe” the physical altercation—because the investigator didn’t note

whether he asked the witness to “describe”).

       The Court also rejected defendants’ defenses, finding for example that HHSC

didn’t take “all reasonable steps” towards compliance, based on a single comment

from a single HHSC witness agreeing that HHSC could’ve done a “better job.” See

Dkt. 1560 at 417; Dkt. 1487 at 133. And the Court rejected defendants’ “good faith

effort” defense by disregarding defendants’ policy changes—some of which are

designed to create a more efficient system and better allocate resources—as nothing

more than a way to “allow investigators to close cases more quickly.” Dkt. 1560 at

418.

       Finally, defendants will argue that the Court erred in rejecting their argument

that defendants’ substantial compliance should have been viewed within the broader

context of their overall achievement in complying with more than 60 remedial orders

imposed at once alongside the injunction. See Dkt. 1560 at 420. Defendants have

undisputedly attained near-perfect compliance with, among others:

       • Caseworker training requirements (Remedial Order 1), Dkt. 1514
         (Court’s order finding full compliance);

       • Graduated caseload requirements for new caseworkers (Remedial
         Order 2), Dkt. 1518 at 11–12;


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       • Requirements to timely complete investigations (Remedial Order
         15), Dkt. 1518 at 14–15; and

       • Requirements to notify referrents and providers of investigations of
         abuse and neglect (Remedial Order 18), Dkt. 1518 at 16–17.

Making the meaningful strides forward to comply with the Court’s remedial orders,

and improve the outcomes for the children in defendants’ care, has been no small

task, and defendants’ uncontested improvement underscores the strong likelihood

that the Fifth Circuit will reverse the contempt order.

       B.     The Court imposed criminal contempt without constitutionally
              required criminal process.

       In addition, defendants are very likely to prevail on appeal because the Court’s

order imposes criminal contempt without affording “the protections that the

Constitution requires of such criminal proceedings.” Hicks ex rel. Feiock v. Feiock,

485 U.S. 624, 632 (1988).

       In International Union, United Mine Workers of America v. Bagwell, the

Supreme Court held that (1) non-compensatory fines that (2) are imposed for out-of-

court conduct and (3) are based on non-compliance with a complex injunction

constitute criminal contempt and can’t “be imposed absent a jury trial.” 512 U.S. 821,

836–38 (1994). All three conditions are met here.

       First, the Court’s order makes clear that the fines it imposed are non-

compensatory. It ordered HHSC to pay all fines into the Court’s registry. Dkt. 1560

at 423. And while the Court specified that those funds would be “segregate[d] and

preserve[d] . . . for the benefit and use of PMC foster care children,” id., “[a]t no point

did [it] attempt to calibrate the fines to damages caused by [defendant’s allegedly]


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contumacious activities.”     Bagwell, 512 U.S. at 834.        So the fines are non-

compensatory.

      Second, the Court based its contempt order on alleged conduct that occurred

outside the court’s presence. Bagwell, 512 U.S. at 833. The Court held HHSC in

contempt of Remedial Orders 3 and 10 based on HHSC’s Provider Investigation unit’s

allegedly deficient and untimely investigations into allegations of abuse and neglect

at HCS group homes. That kind of “indirect” contempt requires more procedural

protections than “direct” contempt, like a witness’s “face-to-face refusal” to testify in

court. United States v. Wilson, 421 U.S. 309, 315–16 (1975) (third quote); see Bagwell,

512 U.S. at 833 (first and second quotes).

      Third, the Court held HHSC in contempt for allegedly failing to comply with a

“complex injunction.” Bagwell, 512 U.S. at 837. Far from faulting defendants for

failing to perform a “discrete, readily ascertainable act[ ], such as turning over a key

or payment of a judgment,” the “court effectively policed [defendants’] compliance

with an entire code of conduct that the court itself had imposed” and that “spanned a

substantial portion of the State.” Bagwell, 512 U.S. at 833, 837.

      Under Bagwell, because this Court sanctioned “indirect contempts of [a]

complex injunction[ ] through noncompensatory fines,” the “fines challenged here are

criminal.” 512 U.S. at 837–38. The criminal character of the contempt is even clearer

here than it was in Bagwell because the Court’s fines began accruing immediately—

the same day the Court issued the order—meaning that as a practical matter

defendants had no “opportunity to reduce or avoid the fine through compliance”


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during at least the first day fines were accruing. Id. at 829 (“[A] ‘flat, unconditional

fine’ totaling even as little as $50 announced after a finding of contempt is criminal

if the contemnor has no subsequent opportunity to reduce or avoid the fine through

compliance.”).

         What’s more, the fines can be suspended only upon a certification about past

conduct—between December 4, 2023 and the present—making clear that the fines

are punitive rather than remedial in nature. Dkt. 1560 at 422–23; Bagwell, 512 U.S.

at 827. The fines, even if suspended, can be reimposed at the June hearing, further

heightening their punitive nature. Dkt. 1560 at 424. Indeed, in explaining its

authority to issue the contempt, the Court stated that courts have “the power to

punish violations of their own orders,” Dkt. 1560 at 21 (quoting In re Bradley, 588

F.3d 254, 265 (5th Cir. 2009)) (emphasis added), and punitive contempts are

quintessentially criminal. See Bagwell, 512 U.S. at 827–28.

         Before the Court imposes criminal contempt, however, defendants are entitled

to full criminal process, including a jury trial and proof beyond a reasonable doubt.

Hicks, 485 U.S. at 637; Bagwell, 512 U.S. at 838. Because the Court imposed criminal

contempt without constitutionally required procedural safeguards, the Fifth Circuit

will likely reverse the contempt order.

II.      Defendants will be irreparably injured without a stay, and a stay will
         serve the public interest.

         Equity likewise strongly favors a stay. Without a stay, defendants will incur

irreparable harm from the extraordinary $100,000 daily fine imposed by the Court as

they seek to comply with the Court’s contempt order. Achieving compliance with the

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Court’s contempt order will take time, but the Court’s fines begin accruing

immediately, and they can only be suspended—not eliminated. See Dkt. 1560 at 424.

         The sheer “institutional injury to Texas from the inversion of . . . federalism

principles” is itself an irreparable injury. Texas v. EPA, 829 F.3d 405, 434 (5th Cir.

2016).     The Fifth Circuit has recognized the “sensitive federalism concerns”

implicated when a federal court exercises “near-perpetual oversight” of an area of

“core state responsibility” like the “already-complex child-welfare regime.” M.D. ex

rel. Stukenberg v. Abbott, 907 F.3d 237, at 271 (5th Cir. 2018) (“An intrusion of this

scale should not be taken lightly.”). Those concerns are only magnified by the Court’s

imposition of criminal contempt against a state official leading one of the largest state

agencies in the entire country without constitutionally required criminal process. In

re Gee, 941 F.3d 153, 167 (5th Cir. 2019) (“Federalism is a ‘clear restraint[ ] on the

use of equity power’ because ‘[a] structural reform decree eviscerates a State’s

discretionary authority over its own program and budgets.’ ”).

         The other factors point towards a stay, too. Because defendants are state

actors, their “interest and harm merge with that of the public.” Veasey v. Abbott, 870

F.3d 387, 391 (5th Cir. 2017) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)). The

“proper expenditure” of state funds and “efficient operation” of state institutions are

matters of public interest adversely affected by the contempt order’s imposition of

fines and costly compliance measures. Hamer v. Brown, 831 F.2d 1398, 1402 (8th

Cir. 1987) (first quote); Rufo v. Inmates of Suffolk Cty. Jail, 502 U.S. 367, 381 (1992)

(second quote).


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      Meanwhile, a stay won’t harm plaintiffs. The funds that would otherwise be

used to pay contempt fines will continue to be spent in the ordinary course to serve

the children in defendants’ care. Even with a stay in place, defendants will be

required to comply with the remedial orders and protect the children in their care—

which they have consistently strived in good faith to do.

                                    CONCLUSION

      For these reasons, defendants respectfully request that the Court stay its

contempt order and all related proceedings pending appeal, which will enable them

to pursue an appeal without continuing to accrue $100,000 in penalties every single

day. At minimum, defendants request that the Court temporarily stay its order while

the Fifth Circuit considers the propriety of a stay pending appeal.         Given the

magnitude of the presently accruing fines and the irreparable harm to federal-state

comity, defendants plan to seek concurrent relief from the Fifth Circuit.




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Date: April 16, 2024                            Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

      On April 16, 2024, counsel for defendants asked counsel for plaintiffs whether

plaintiffs were opposed or unopposed to the relief requested by this motion. Counsel

for plaintiffs stated that plaintiffs are opposed to the relief sought.


                                                _/s/ Allyson N. Ho__
                                                Allyson N. Ho


                               CERTIFICATE OF SERVICE

      I certify that on April 16, 2024, a true and correct copy of the foregoing

document was electronically filed with the Clerk of the Court using the electronic case

filing system, which automatically provided notice to all attorneys of record.


                                                _/s/ Allyson N. Ho__
                                                Allyson N. Ho




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